         Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 1 of 18


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 8
                          UNITED STATES DISTRICT COURT
 9
                        NORTHERN DISTRICT OF CALIFORNIA
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11
     STEPHEN MORRIS and KELLY              Case No. 12-CV-04964-JSW
12   McDANIEL, on behalf of themselves and [Assigned for all purposes to Judge
13   all others similarly situated,        Jeffrey S. White]
14                          Plaintiffs,      ERNST & YOUNG LLP’S
                                             OPPOSITION TO PLAINTIFF’S
15        vs.                                MOTION TO VACATE
                                             ARBITRATION AWARD
16   ERNST & YOUNG LLP,                      Date:       June 7, 2024
17                                           Time:       9:00 A.M.
                            Defendant.       Ctrm.:      5
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19                                           Date Action Filed: February 2, 2012
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          ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
           Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 2 of 18


 1                                      TABLE OF CONTENTS
 2
                                                                                                               Page
 3
     I.     INTRODUCTION ......................................................................................1
 4
     II.    BACKGROUND ........................................................................................3
 5
 6          A.       Morris’s Lawsuit and EY’s Motion to Compel Arbitration ............ 3

 7          B.       Morris’s Years-Long Delay In Commencing Arbitration ............... 3
 8          C.       EY’s Motion To Dismiss ................................................................. 4
 9
     III. STANDARD OF REVIEW........................................................................ 6
10
     IV. ARGUMENT..............................................................................................7
11
            A.       The Arbitrator Applied The Correct Statutes Of Limitations .......... 7
12
13                   1.      New York Law Does Not Supply The Statutes Of
                             Limitations .............................................................................7
14
                     2.      The Agreement Incorporates The Statutes Of Limitations
15
                             That Would Apply In Court ................................................... 8
16
            B.       The Availability of Mediation Is Irrelevant ...................................11
17
            C.       The Court Did Not Decide EY’s Statute Of Limitations Defense. 12
18
19   V.     CONCLUSION ........................................................................................14
20
21
22
23
24
25
26
27
28

                                                                i
            ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
          Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 3 of 18


 1                                            TABLE OF AUTHORITIES
 2                                                                                                                        Page(s)

 3   Federal Cases
 4   Albano v. Shea Homes Ltd. P’ship,
 5     634 F.3d 524 (9th Cir. 2011) ................................................................................ 9

 6   Bank Julius Baer & Co. v. Waxfield Ltd.,
       424 F.3d 278 (2d Cir. 2005) ................................................................................. 9
 7
 8   Beagle v. Rite Aid,
       No. C08-1517 PJH, 2009 WL 3112098 (N.D. Cal. Sept. 23, 2009) .................. 12
 9
     Burgers v. Zurich Am. Ins. Co.,
10
       No. 22-55266, 2023 U.S. App. LEXIS 5728 (2d Cir. Mar. 10, 2023) ................. 9
11
     Cantor Fitzgerald, Inc. v. Lutnick,
12    313 F.3d 704 (2d Cir. 2002) ................................................................................. 9
13
     Clos La Chance Wines, Inc. v. AV Brands, Inc.,
14     No. 5:16-cv-0407-EJD, 2017 U.S. Dist. LEXIS 97702 (N.D. Cal. June 23,
       2017) ................................................................................................................... 10
15
16   Epic Sys. Corp. v. Lewis,
       584 U.S. 497 (2018).......................................................................................... 3, 8
17
18   Hall St. Assocs., L.L.C. v. Mattel, Inc.,
      552 U.S. 576 (2008).............................................................................................. 6
19
     Kyocera Corp. v. Prudential-Bache Trade Servs., Inc.,
20     341 F.3d 987 (9th Cir. 2003) (en banc) ................................................................ 6
21
     Lagstein v. Certain Underwriters at Lloyd’s,
22     607 F.3d 634 (9th Cir. 2010) ........................................................................ 1, 2, 6
23   Lamps Plus, Inc. v. Varela,
24     587 U.S. 176 (2019)............................................................................................ 10
25   Mastrobuono v. Shearson Lehman Hutton,
26    514 U.S. 52 (1995).............................................................................................. 10

27   Matson Plastering Co. v. Operative Plasterers & Cement Masons Int’l Assoc.,
      633 F.2d 1307 (9th Cir. 1980) ............................................................................ 12
28

                                                                    ii
            ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
          Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 4 of 18


 1   Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,
 2    473 U.S. 614 (1985)...................................................................................... 11, 13

 3   Morris v. Ernst & Young, LLP,
      834 F.3d 975 (9th Cir. 2016) ....................................................................... passim
 4
 5   Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp.,
       559 U.S. 662 (2010)........................................................................................ 7, 10
 6
     Topadzhikyan v. Glendale Pol’y Dep’t,
 7
       Case No. CV 10-0387-JST, 2011 U.S. Dist. LEXIS 161008 (C.D. Cal. Aug. 4,
 8     2011) ................................................................................................................... 13
 9   Webb. v. Alpha & Omega Servs.,
10    5:16-CV-01609-RGK-KK, 2016 U.S. Dist. LEXIS 188985 (C.D. Cal. Nov. 14,
      2016) ..................................................................................................................... 8
11
     Wellman v. Writers Guild of Am., W., Inc.,
12
      146 F.3d 666 (9th Cir. 1998) .............................................................................. 10
13
     California Cases
14
     Hambrecht & Quist Venture Partners v. Am. Med. Int’l, Inc.,
15
      38 Cal. App. 4th 1532 (1995) ............................................................................... 9
16
     Ernst & Young LLP, et al. v. Stephen Morris, et al.,
17     Case No. 13-165999 JSW ..................................................................................... 3
18
     Ho et al. v. Ernst & Young LLP,
19    Case No. 4:05-cv-04867 JSW .............................................................................. 4
20   Federal Statutes
21
     Fair Labor Standards Act (“FLSA”) ............................................................... passim
22
     Federal Arbitration Act (“FAA”) .................................................................... passim
23
24
25
26
27
28

                                                                    iii
           ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
          Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 5 of 18


 1   I.    INTRODUCTION
 2          Stephen Morris claimed Ernst & Young (“EY”) misclassified him as exempt
 3   from the Fair Labor Standards Act (“FLSA”) and California overtime laws when he
 4   worked for the firm 17 years ago. He filed a lawsuit against EY in 2012, despite
 5   having agreed to arbitrate his claims. In 2018, after years of litigation over the
 6   enforceability of his agreement, the U.S. Supreme Court upheld it, leaving Morris
 7   no choice but to pursue his claims in arbitration, if at all. Nevertheless, for the next
 8   four years, Morris did nothing.
 9          After Morris finally commenced arbitration in 2022, EY moved to dismiss his
10   claims as barred by the applicable statutes of limitations due to his four-plus years
11   of sitting on his rights. EY showed the statutes resumed running in 2018, when the
12   Supreme Court decided Morris could pursue his claims only in arbitration, and that
13   Morris thereafter failed to commence arbitration within the longest applicable
14   limitations period. Morris did not dispute these points. Instead, he offered various
15   arguments for why they did not warrant dismissal, each of which the Arbitrator
16   carefully considered and properly rejected.
17          Morris’s motion does not come close to justifying vacating the Arbitrator’s
18   Award. Under well-settled principles, the Court must confirm the Award even if it
19   includes erroneous findings of fact or mistakes of law, which it does not. Instead,
20   Morris must prove that, rather than interpret the parties’ agreement and apply the
21   law, the Arbitrator issued an award that is “completely irrational” or exhibits a
22   “manifest disregard of law.” Lagstein v. Certain Underwriters at Lloyd’s, 607 F.3d
23   634, 641 (9th Cir. 2010) (quoting Kyocera Corp. v. Prudential-Bache Trade Servs.,
24   Inc., 341 F.3d 987, 994 (9th Cir. 2003) (en banc)), cert. denied, 130 S. Ct. 1522,
25   (2010)). Morris’s showing does not even approach this steep standard.
26          First, Morris contends the Arbitrator erred by doing exactly what the Court
27   would expect: applying the FLSA’s statute of limitations to his FLSA claim and
28   California’s statutes of limitations to his California law claims. He tries to justify

                                                 1
           ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
        Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 6 of 18


 1   his absurd position by contending the agreement invokes New York statutes of
 2   limitations, when, in fact, New York law applies only if the Federal Arbitration Act
 3   (“FAA”) is held not to apply—and, even then, only for purposes of enforcing the
 4   parties’ agreement and the like. By contrast, the agreement separately provides that,
 5   in deciding a dispute, the Arbitrator must apply the law that would apply in court.
 6   The Arbitrator correctly held that a court would apply California’s statutes of
 7   limitations to Morris’s California law claims, for example. Nothing in the parties’
 8   agreement calls into question this self-evident outcome.
 9         Second, Morris apparently contends that the statutes of limitations never ran
10   because the parties’ agreement requires pre-arbitration mediation in some instances.
11   However, this argument ignores that mediation is not required when a party files a
12   lawsuit over an arbitrable claim, as Morris did. Moreover, even when mediation
13   occurs, nothing in the Agreement suggests that engaging in mediation has any
14   impact on the statute of limitations, as the Arbitrator found. Because the
15   Arbitrator’s reasoning honors the agreement’s plain language, the Award clearly is
16   not “completely irrational.”
17         Finally, Morris contends the Arbitrator should have followed a decision by
18   this Court rejecting EY’s statute of limitations defense. As the Arbitrator found,
19   this argument is both legally and factually baseless. Once the Supreme Court
20   decided Morris could pursue his claims only in arbitration, this Court had no
21   jurisdiction to rule on the statute of limitations. Nor did it ever do so. Because the
22   Court could not—and did not—decide any aspect of Morris’s arbitral claims, the
23   Arbitrator correctly found no “law of the case” resolved EY’s motion.
24         In sum, the Arbitrator’s Award is entirely consistent with the parties’
25   agreement and the law. Morris has no cogent argument otherwise. His motion
26   therefore falls far short of proving the Award “exhibits a manifest disregard of law
27   or is completely irrational.” Lagstein, 607 F.3d at 640. Accordingly, the Court
28   should deny the motion, confirm the Award, and dismiss the lawsuit with prejudice.

                                                2
         ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
           Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 7 of 18


 1   II.    BACKGROUND
 2          A.    Morris’s Lawsuit and EY’s Motion to Compel Arbitration
 3           Morris worked for EY in California from January 2005 to February 2007.
 4   Declaration of Gregory Knopp (“Knopp Dec.”) ¶ 2, Ex. A (Morris’s “Statement of
 5   Claim”) at 1. On February 2, 2012, he filed a putative class and collective action in
 6   federal court in New York, claiming EY had misclassified him and other employees
 7   as exempt from California and federal overtime laws. Id. at 2-3. The New York
 8   court transferred the case to this Court, which at the time presided over several
 9   similar cases, all of which ended long ago. Id. at 3.
10           In January 2013, EY moved to compel Morris to arbitrate his claims on an
11   individual basis pursuant to the firm’s “Common Ground” program, to which he had
12   assented at the outset of his employment. The Court granted the motion and
13   dismissed the lawsuit. Morris ECF No. 63 (“Because arbitration is required for
14   every claim, the court dismisses, rather than stays, the case.”). In August 2016, the
15   Ninth Circuit reversed the decision, crediting Morris’s argument that the
16   agreement’s class action waiver was unenforceable. See Morris v. Ernst & Young,
17   LLP, 834 F.3d 975, 990 (9th Cir. 2016).
18           EY then petitioned for a writ of certiorari, which the Supreme Court granted.
19   The Supreme Court reversed the Ninth Circuit’s decision on May 21, 2018, finding
20   the agreement enforceable. See Epic Sys. Corp. v. Lewis, 584 U.S. 497, 525 (2018).
21   The Supreme Court issued its mandate on June 22, 2018, thereby affirming the
22   Court’s grant of EY’s motion to compel arbitration and dismissal of the lawsuit.
23   See Ernst & Young LLP, et al. v. Stephen Morris, et al., Case No. 13-165999. 1
24          B.    Morris’s Years-Long Delay In Commencing Arbitration
25           In July 2018, shortly after the Supreme Court mandate, this Court requested a
26   status report. Consistent with the 2013 order, EY asked the Court to dismiss the
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28           1
             {https://www.supremecourt.gov/search.aspx?filename=/docket/docketfiles/html/public/16
     -300.html}

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            ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
         Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 8 of 18


 1   lawsuit so Morris could commence arbitration if he desired to pursue his claims.
 2   See Ho ECF No. 397 at 2 (“If [Morris] wish[es] to pursue arbitration with respect to
 3   [his] individual claims, [he] may do so.”). 2 Morris objected to dismissal until “the
 4   conclusion of the arbitrations which may be commenced.” Id. at 3.
 5          In January 2020, in response to the Court’s request for another status report,
 6   EY again asked the Court to dismiss Morris’s claims, contending Morris had waived
 7   the right to pursue them in arbitration by taking no action for two years. Ho ECF
 8   No. 399 at 3 (explaining that, unlike the plaintiff in one of the related cases, Morris
 9   has “never taken any steps toward initiating arbitration”). In response, Morris stated
10   he intended to engage EY in settlement discussions and that waiver was for an
11   arbitrator to decide. Id. Morris’s counsel noted that the plaintiff in a related case
12   had commenced arbitration “long ago” but did not explain Morris’s inaction. Id.
13   After the parties filed the status report, another two years passed with Morris taking
14   no steps to pursue his claims.
15          In May 2022, the Court requested another status report. EY again asked the
16   Court to dismiss the action and stressed that Morris needed to pursue his claims in
17   arbitration, if at all. Morris ECF No. 85. The Court ordered Morris to commence
18   arbitration “by no later than July 22, 2022.” Morris ECF No. 86. If he did not, the
19   Court would dismiss his lawsuit, consistent with the 2013 order. Id.
20          On July 22, 2022, four years and one month after the Supreme Court issued
21   its mandate, Morris filed a demand for arbitration.3 He asserted the same FLSA and
22   California law claims as in his lawsuit. See generally Statement of Claim.
23         C.      EY’s Motion To Dismiss
24         After Morris commenced arbitration, EY moved to dismiss Morris’s claims as
25   barred by the applicable statutes of limitations. With respect to the FLSA claim, EY
26
27          2
               Some of the pleadings cited herein are from a related case, Ho et al. v. Ernst & Young
     LLP, Case No. 4:05-cv-04867 JSW (“Ho”).
28           3
               A party commences arbitration by filing a demand in accordance with the rules of the
     selected provider. Morris ECF No. 92-2, Ex. A (“Agreement”), § IV.E.

                                                      4
          ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
         Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 9 of 18


 1   argued that the FLSA’s maximum three-year statute of limitations had expired
 2   before Morris filed his lawsuit in 2012 because he last worked for EY in 2007. See
 3   Knopp Dec. ¶ 3, Ex. B (“Motion to Dismiss”) at 4-5.
 4          EY further argued that the California law claims, though timely when Morris
 5   filed his lawsuit, became stale due to Morris’s years-long inaction. Specifically, EY
 6   showed that the relevant statutes of limitations resumed running in 2018, when the
 7   Supreme Court decided once and for all that Morris could pursue his claims only in
 8   arbitration. Motion to Dismiss at 5-9. EY explained in detail that the tolling of the
 9   statute of limitations due to filing the lawsuit ended when Morris no longer could
10   pursue his claims in court. Id. (citing authorities). EY further demonstrated that
11   Morris then failed to commence arbitration within four years, the longest limitations
12   period relevant to his state law claims. 4 Id. at 5-6.
13          In opposing the motion, Morris did not dispute that (i) the statutes of
14   limitations resumed running when the Supreme Court decided he could pursue his
15   claims only in arbitration and (ii) he then waited four-plus years to commence
16   arbitration. See generally Knopp Dec. ¶ 4, Ex. C (“Opposition to Motion to
17   Dismiss”); id. ¶ 6, Ex. E (“Reply”). Because these facts are fatal to his claims,
18   Morris tried to side-step them. He argued, inter alia, that no statute of limitations
19   applies at all (id. at 4-6) and that this Court already rejected EY’s statute of
20   limitations defense (id. at 7).
21         On December 31, 2023, after reviewing the parties’ submissions and hearing
22   oral argument, the Arbitrator granted EY’s motion in a written Award that
23   addressed each of Morris’s arguments. See Knopp Dec. ¶ 5, Ex. D (“Award”). The
24   Arbitrator found that “the laws of the State of California apply to Morris’s
25   California-based claims and Ninth Circuit jurisprudence applies to Morris’s FLSA
26   claims.” Id. at 4. Applying these standards, the Arbitrator held that Morris’s FLSA
27
            4
              For purposes of the motion, EY assumed the entire four-year period remained intact at
28   the time of the mandate due to tolling from (i) the pendency of prior class actions in which Morris
     was a putative class member and (ii) the filing of his lawsuit.

                                                      5
          ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
       Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 10 of 18


 1   claim was time-barred as of 2010. Id. at 5. She further held that the state law
 2   limitations periods resumed running in 2018 and expired because Morris allowed
 3   more than four years to pass before commencing arbitration. Id. The Arbitrator
 4   then considered Morris’s arguments for why his claims nevertheless were timely
 5   and, after carefully interpreting the parties’ agreement, rejected each one. Award at
 6   6-9 (rejecting Morris’s arguments that “no statute of limitations applies,” that the
 7   “mediation procedures tolled the statute of limitations,” and that “the statute of
 8   limitations has already been decided by the District Court”).
 9   III. STANDARD OF REVIEW
10         The Court’s “review [of the Award] is limited by the Federal Arbitration Act
11   (‘FAA’), which ‘enumerates limited grounds on which a federal court may vacate,
12   modify, or correct an arbitral award.’” Lagstein v. Certain Underwriters at Lloyd’s,
13   607 F.3d 634, 640 (9th Cir. 2010) (quoting Bosack v. Soward, 586 F.3d 1096, 1102
14   (9th Cir. 2009), cert. denied, 559 U.S. 938 (2010)). In fact, Section 10(a) of the
15   FAA permits vacatur in only four circumstances. See Hall St. Assocs., L.L.C. v.
16   Mattel, Inc., 552 U.S. 576, 584, (2008) (sections 10 and 11 “provide the FAA’s
17   exclusive grounds for expedited vacatur and modification”). Unless the award is
18   vacated under Section 10, “confirmation is required even in the face of erroneous
19   findings of fact or misinterpretations of law.” Kyocera Corp. v. Prudential-Bache
20   Trade Servs., Inc., 341 F.3d 987, 997 (9th Cir. 2003) (citation omitted).
21         As relevant here, the FAA “permits vacatur ‘where the arbitrators exceeded
22   their powers.’” Lagstein, 607 F.3d at 641 (quoting 9 U.S.C. § 10(a)(4)); see Morris
23   ECF No. 92 (“Mot.”) at 6-7. “This is a high standard for vacatur; ‘[i]t is not enough
24   . . . to show that the panel committed an error—or even a serious error.’” Id.
25   (quoting Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S. 662, 671 (2010)).
26   “[A]rbitrators ‘exceed their powers’ . . . not when they merely interpret or apply the
27   governing law incorrectly, but when the award is ‘completely irrational,’ or exhibits
28   a ‘manifest disregard of law.’” Id. (quoting Kyocera, 341 F.3d at 997). As the

                                                6
         ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
       Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 11 of 18


 1   Supreme Court explained, “It is only when [an] arbitrator strays from interpretation
 2   and application of the agreement and effectively ‘dispense[s] his own brand of
 3   industrial justice’ that his decision may be unenforceable.” Stolt-Nielsen, 559 U.S.
 4   at 671 (citations omitted).
 5   IV. ARGUMENT
 6         Unable to dispute that the statutes of limitations resumed running in 2018 and
 7   that he then allowed more than four years to pass before commencing arbitration,
 8   Morris tries to evade the fatal impact of these facts. He contends they do not bar his
 9   claims because, for example, the parties’ agreement paradoxically subjects his
10   California statutory claims to New York’s statutes of limitations, or because the
11   Court already resolved EY’s statute of limitations defense despite never mentioning
12   it. The Arbitrator correctly rejected Morris’s arguments in ways that are not
13   remotely “irrational” or in “manifest disregard” of the law.
14        A.     The Arbitrator Applied The Correct Statutes Of Limitations.
15         Morris primarily contends the Arbitrator erred by applying the FLSA’s statute
16   of limitations to his FLSA claim and California’s statutes of limitations to his
17   California law claims. In his telling, the Arbitrator should have applied New York’s
18   statutes of limitations—or no limitations period at all. As the Arbitrator held,
19   Morris’s arguments defy the parties’ agreement, which makes clear the statutes of
20   limitations that would apply in court apply equally in arbitration.
21               1.     New York Law Does Not Supply The Statutes Of Limitations.
22         Morris tries to invoke New York law by misleadingly referring to the
23   agreement’s “Choice of Law” provision, which, in full, is entitled “Choice of Law
24   Governing Program.” Agreement § V.G (emphasis added). Under this provision,
25   the FAA governs “[t]he [Common Ground Dispute Resolution] Program, these
26   procedures, and any arbitration award,” but New York law applies “to the extent, if
27   any, that the [FAA] is held not to apply.” Id. (emphasis added). No court or
28   arbitrator has held the FAA does not apply. On the contrary, the U.S. Supreme

                                                7
         ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
       Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 12 of 18


 1   applied the FAA to the agreement. See Epic Sys. Corp. v. Lewis, 584 U.S. 497
 2   (2018) (enforcing Morris’s agreement pursuant to FAA). Therefore, under the
 3   agreement’s plain language, New York law never entered the picture, as the
 4   Arbitrator held. Award at 4.
 5         Moreover, even if the FAA “is held not to apply,” New York law simply fills
 6   in for the FAA. Specifically, it governs the enforceability of the agreement and the
 7   like—i.e., “the Program, these procedures, and any arbitration award[.]” See Morris
 8   ECF No. 42-2. This provision simply has no bearing on the law governing Morris’s
 9   claims. See Webb. v. Alpha & Omega Servs., 5:16-CV-01609-RGK-KK, 2016 U.S.
10   Dist. LEXIS 188985, at **4-5 (C.D. Cal. Nov. 14, 2016) (holding California Labor
11   Code claims were unaffected by Texas choice-of-law provision “pertaining to the
12   agreement [itself]”). Indeed, Morris knows full well New York law does not govern
13   his claims, having pled them under federal and California law exclusively.
14         In short, under the agreement’s plain language, New York law does not apply
15   and, even if it did, it merely would fill in for the FAA, rather than govern Morris’s
16   federal and California overtime claims. Because nothing in the agreement suggests
17   New York law supplies the statute of limitations, the Arbitrator’s decision not to
18   apply New York law is anything but “irrational.”
19               2.    The Agreement Incorporates The Statutes Of Limitations That
20                     Would Apply In Court.
21         As Morris acknowledges, a different provision specifically addresses the law
22   governing his claims. Section IV.J, contained in the “Phase 2—Arbitration” portion
23   of the agreement and entitled “Law Appliable to Arbitration,” states as follows:
24
                 In deciding a Covered Dispute, the Arbitrator will apply the
25               substantive law, including burdens of proof, that would be
                 applied by a court in the venue of the arbitration.
26
27   Therefore, by the agreement’s explicit terms, the Arbitrator must apply the law that
28   would apply in court. EY showed—and Morris never disputed—that a court “in the

                                                8
         ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
        Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 13 of 18


 1   venue of the arbitration” would apply California law to Morris’s California law
 2   claims and FLSA law to Morris’s FLSA claim. See Award at 4, 6-7.
 3         Other provisions of the Agreement confirm that Morris’s rights in arbitration
 4   are the same as if he pursued a claim in court. See Agreement § IV.J (“The
 5   Arbitrator may grant any relief that could be granted by such a court, but will have
 6   no power to grant any other relief.”); id. § 1 (“[The Program] is not intended to limit
 7   or expand substantive rights that would otherwise be available under law.”).
 8         By making clear the Arbitrator must apply the law that would apply in court,
 9   the Agreement unquestionably invokes the applicable statutes of limitations. See
10   Hambrecht & Quist Venture Partners v. Am. Med. Int’l, Inc., 38 Cal. App. 4th 1532,
11   1540–44, (1995) (emphasis added) (construing agreement stating it “shall be
12   governed by and construed in accordance with the laws of the State of Delaware” s
13   incorporating Delaware’s statute of limitations); see also Albano v. Shea Homes Ltd.
14   P’ship, 634 F.3d 524, 530 (9th Cir. 2011) (statute of limitations is part of “the
15   substantive law of the state”); Cantor Fitzgerald, Inc. v. Lutnick, 313 F.3d 704, 710
16   (2d Cir. 2002) (“A state’s rules providing for the start and length of the statute of
17   limitations is substantive law.”).
18         Morris cites no authority holding an arbitration agreement must explicitly
19   reference “statutes of limitations” or otherwise permits the parties to pursue claims
20   forever. Indeed, interpreting the agreement in this way would be absurd and thus
21   forbidden by canons of construction. See Burgers v. Zurich Am. Ins. Co., No. 22-
22   55266, 2023 U.S. App. LEXIS 5728, at *3 (2d Cir. Mar. 10, 2023) (courts should
23   avoid contract interpretations that will lead to absurd results); Bank Julius Baer &
24   Co. v. Waxfield Ltd., 424 F.3d 278, 283 (2d Cir. 2005) (interpretation that would
25   “lead to absurd results” is “a result also forbidden by canons of construction”).
26         Morris tries to avoid the plain meaning of the “Law Applicable to
27   Arbitration” term by claiming it conflicts with the term invoking the FAA. He is
28   mistaken. As explained, the former provides the law for “deciding a Covered

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         ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
        Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 14 of 18


 1   Dispute,” while the latter concerns the law governing the agreement itself. These
 2   terms are clearly compatible. See Mastrobuono v. Shearson Lehman Hutton, 514
 3   U.S. 52, 63–64 (1995) (reading choice-of-law and arbitration provisions in concert
 4   and finding “neither sentence intrudes upon the other,” consistent with “cardinal
 5   principle of contract construction: that a document should be read to give effect to
 6   all its provisions and to render them consistent with each other”).
 7          Morris next contends the provision requiring the Arbitrator to apply the
 8   “substantive law” applicable in court is “ambiguous.” This argument not only
 9   defies the authorities EY cited above, but it ignores Morris’s burden. Even if this
10   term were unclear, the Arbitrator’s interpretation of a purportedly ambiguous
11   contract provision could not justify vacatur. Stolt-Nielsen, 559 U.S. 671 (“It is not
12   enough . . . to show that the panel committed an error—or even a serious error”)
13   (citation omitted); Clos La Chance Wines, Inc. v. AV Brands, Inc., No. 5:16-cv-
14   0407-EJD, 2017 U.S. Dist. LEXIS 97702, at *15 (N.D. Cal. June 23, 2017)
15   (“Respondent may advocate for something different, but the existence of an
16   alternative interpretation of a contract does not render ‘irrational’ the one adopted
17   by the arbitrator, even if erroneous.”) (citing Bosack, 586 F.3d at 1106); Mot. at 2
18   (Morris acknowledges that arbitrator’s interpretation of contract need only be
19   “plausible”) (citation omitted). 5
20          Finally, Morris invokes the ejusdem generis rule of construction, which he
21   never mentioned to the Arbitrator and therefore has waived this argument. See
22   Wellman v. Writers Guild of Am., W., Inc., 146 F.3d 666, 673 (9th Cir. 1998) (“[I]t
23   is well settled that a party may not sit idle through an arbitration proceeding and
24   then collaterally attack that procedure on grounds not raised before the arbitrators
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               Morris’s reliance on the contra preferendum rule is misplaced. This rule might apply
     only if the Arbitrator could not discern the parties’ intent. See Lamps Plus, Inc. v. Varela, 587
27   U.S. 176, 187 (2019) (“Unlike contract rules that help to interpret the meaning of a term, and
     thereby uncover the intent of the parties, contra preferendum is by definition triggered only after a
28   court determines that it cannot discern the intent of the parties.”) Here, as the Arbitrator found,
     the parties intended for the Arbitrator to apply the same laws that would apply in court.

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          ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
       Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 15 of 18


 1   when the result turns out to be adverse.”). In any event, he simply proclaims that
 2   statutes of limitations are categorically different than “burdens of proof,” the
 3   example of “substantive law” provided in the Agreement. This unexplained and
 4   unsupported assertion falls well short of showing the Arbitrator’s interpretation of
 5   the agreement was “completely irrational.”
 6         In short, the parties’ agreement makes clear the Arbitrator must apply the law
 7   to Morris’s claims that a court would apply. Morris has no serious argument the
 8   Arbitrator should have applied different limitations periods to claims brought under
 9   federal and California statutes. Indeed, freeing his claims from the limitations
10   periods that would apply in court would contravene the agreement by “expand[ing]
11   [his] substantive rights”—while diminishing EY’s—and granting him relief no court
12   can offer. Agreement §§ 1, IV.J; see Mitsubishi Motors Corp. v. Soler Chrysler-
13   Plymouth, Inc., 473 U.S. 614, 628 (1985) (“By agreeing to arbitrate a statutory
14   claim, a party does not forgo the substantive rights afforded by the statute”).
15        B.     The Availability of Mediation Is Irrelevant.
16         Morris next contends that, because the parties engaged in mediation four
17   years after the Supreme Court mandate, his claims somehow are timely. Mot. at
18   11-12. The Arbitrator correctly held that nothing in the parties’ agreement suggests
19   engaging in mediation affects the running of the statute of limitations.
20         To begin, Morris is wrong in contending mediation was a “mandatory
21   predicate” to arbitration. Mot. at 11. The agreement explicitly states otherwise:
22               Phase I [Mediation] Default. If a party files a lawsuit
23               relating to a Covered Dispute in violation of the terms of the
                 Program, the other party may choose to proceed directly to
24               [Arbitration] or to seek an order requiring the party who
25               filed the lawsuit to satisfy the requirements of the Program.

26   Agreement § IV.B. Therefore, once Morris filed his lawsuit, neither party had any
27   obligation to participate in mediation. Morris’s criticism of the Arbitrator for
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         ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
        Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 16 of 18


 1   rejecting his argument “that mediation was a contractual pre-condition to
 2   commencement of Arbitration” is thus entirely unfounded. Mot. at 12.
 3          Morris’s argument fails regardless. As the Arbitrator found, “nothing in the
 4   Common Ground mediation procedures suggests that engaging, or not engaging, in
 5   mediation would have any impact on the statute of limitations. Indeed, Morris cites
 6   no authority suggesting it does.” Award at 7. Morris ignores this holding. He cites
 7   no term in the agreement or legal authority supporting his position that engaging in
 8   mediation affected the statutes of limitations. Having disregarded this holding,
 9   Morris plainly failed to satisfy his “high” burden of showing the Award “exhibits a
10   manifest disregard of law or is completely irrational.” Mot. at 1 (citations omitted);
11   see also Beagle v. Rite Aid, No. C08-1517 PJH, 2009 WL 3112098, at *11 (N.D.
12   Cal. Sept. 23, 2009) (as party seeking equitable tolling, Morris bears the “burden to
13   plead and prove that limitations period should be tolled”).
14         C.     The Court Did Not Decide EY’s Statute Of Limitations Defense.
15          Without citing any authority, Morris argues the Arbitrator erred by failing to
16   acknowledge that this Court had rejected EY’s statute of limitations defense. Mot.
17   at 8. As the Arbitrator found, this argument is both legally and factually baseless.
18          The Court had a threshold issue before it: whether Morris must pursue his
19   claims in arbitration. Once the Supreme Court answered that question in the
20   affirmative, “the District Court did not have jurisdiction to rule on statute of
21   limitations questions[.]” Award at 8; see also Matson Plastering Co. v. Operative
22   Plasterers & Cement Masons Int’l Assoc., 633 F.2d 1307, 1308 (9th Cir. 1980)
23   (“[T]he district court had no jurisdiction to consider the merits of the underlying
24   dispute . . . The district court’s jurisdiction . . . was limited to deciding whether the
25   dispute . . . was arbitrable.”).
26          Nor did the Court do so. As the Arbitrator found, “EY never made a motion
27   to dismiss based on the statute of limitations grounds before the District Court; thus,
28   there is no statute of limitations law of the case.” Award at 8. Rather, EY merely

                                                 12
          ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
        Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 17 of 18


 1   noted in a status report that the Court should dismiss the lawsuit because Morris
 2   could pursue his claims only in arbitration—as the Court ordered in 2013. Id. at 9
 3   (“[A]ll the District Court was deciding was whether to dismiss the lawsuit or stay it
 4   pending outcome of arbitration[.]”). Indeed, the Court expressly reserved the issue
 5   of waiver, like any other defenses, for the Arbitrator. Morris ECF No. 86. Because
 6   the Court never decided anything but arbitrability, there is no “law of the case”
 7   regarding the statutes of limitation. See Topadzhikyan v. Glendale Pol’y Dep’t,
 8   Case No. CV 10-0387-JST, 2011 U.S. Dist. LEXIS 161008, at *3 (C.D. Cal. Aug. 4,
 9   2011) (“[T]he [law of the case] doctrine posits that when a court decides upon a
10   rule of law, that decision should continue to govern the same issues in subsequent
11   stages in the same case.”) (emphasis added) (citing Arizona v. California, 460 U.S.
12   605, 618 (1983)).
13          Finally, the Court’s order requiring Morris to initiate arbitration by a certain
14   date is irrelevant to the statute of limitations defense, as the Arbitrator held. The
15   Court simply ordered that, if Morris did not commence arbitration promptly, it
16   would dismiss the lawsuit, as opposed to staying it pending the outcome of
17   arbitration. Award at 9; Morris ECF No. 86. Again, the Court did not—and could
18   not—decide Morris’ compliance with the statutes of limitations. 6
19          Morris offers no defense of his positions. He notes that the Arbitrator
20   explicitly rejected his arguments and then, without citing any authority or offering
21   any explanation, he feebly states that “the Arbitrator took too narrow a view of the
22   Court’s orders.” Mot. at 14. This unsupported conclusion obviously falls well short
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               At the end of his motion, while citing no authority, Morris notes that “the filing of and
     pendency of an action in Court tolls the statute of limitations[.]” Mot. at 14. But he never
26   attempts to explain why the tolling continued after the Supreme Court determined his claims could
     proceed only in arbitration. EY demonstrated at length that the tolling ended upon the Supreme
27   Court’s mandate (see Motion to Dismiss at 5-9), and Morris did not argue otherwise. Moreover, if
     the pendency of a stayed lawsuit justified tolling even after the court compelled arbitration, the
28   statute of limitations never would resume running, depriving the respondent of its substantive
     rights in contravention of fundamental arbitral law. See Mitsubishi Motors, 473 U.S. at 628.

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          ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
          Case 4:12-cv-04964-JSW Document 93 Filed 04/16/24 Page 18 of 18


1    of proving the Arbitrator’s Award “exhibits a manifest disregard of law or is
2    completely irrational.” Id. at 1 (citations omitted).
3    V.     CONCLUSION
4            For the reasons presented above, Morris cannot satisfy his heavy burden of
5    justifying vacatur of the Arbitrator’s Award. Therefore, the Court should deny his
6    motion, confirm the Award, and dismiss this action with prejudice.7
7
     DATED: April 16, 2024                    PROSKAUER ROSE LLP
8                                             GREGORY W. KNOPP
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                                              By:               /s/ Gregory W. Knopp
11                                                             GREGORY W. KNOPP
12                                            Attorneys for Defendant Ernst & Young LLP
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              Although the case previously included a second plaintiff, Kelly McDaniel, the parties
     have resolved her claims by settlement.

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           ERNST & YOUNG LLP’S OPPOSITION TO MOTION TO VACATE ARBITRATION AWARD
